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IN THE UNITED STATES DISTRICT COURT

: cs CLERK, U.S. DISTRICT
FOR THE SOUTHERN DISTRICT OF ILLINOIS ooTHERN DISTRICT OF Irae

EAST ST. LOUIS OFFICE

 

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
vs. ) CRIMINALNO. _/ 9-360 Y7~ pITR_
)
JOSEPH L. HUGHES, )
a/k/a “Joe King,” ) Title 18, United States Code,
) Sections 2422(b) and 2423(b).
Defendant. )

INDICTMENT
THE GRAND JURY CHARGES:
COUNT 1
ENTICEMENT OF A MINOR

From on or about November 21, 2018, until on or about December 8, 2018, in St. Clair

County, within the Southern District of Illinois, and elsewhere,
JOSEPH L. HUGHES, a/k/a “Joe King,”

defendant herein, did knowingly use a facility of interstate and foreign commerce to knowingly
persuade, induce, entice, and coerce an individual who had not attained the age of 18 years to
engage in a sexual activity for which a person could be charged with a criminal offense, that is,
Aggravated Criminal Sexual Abuse in violation of 720 ILCS 5/11-1.60(d); all in violation of Title
18, United States Code, Section 2422(b).

COUNT 2

TRAVEL WITH INTENT TO ENGAGE IN ILLICIT SEXUAL CONDUCT
On or about November 24, 2018, in St. Clair County, Illinois, within the Southern District

of Illinois, and the State of Missouri,
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JOSEPH L. HUGHES, a/k/a “Joe King,”
defendant herein, did knowingly travel in interstate commerce from the State of Missouri to St.
Clair County, Illinois, for the purpose of engaging in illicit sexual conduct, as defined in Title 18,
United States Code, Section 2423(f), with a person under 18 years of age, all in violation of Title
18, United States Code, Section 2423(b).

COUNT 3

TRAVEL WITH INTENT TO ENGAGE IN ILLICIT SEXUAL CONDUCT
On or about December 8, 2018, in St. Clair County, Illinois, within the Southern District
of Illinois, and the State of Missouri,
JOSEPH L. HUGHES, a/k/a “Joe King,”
defendant herein, did knowingly travel in interstate commerce from the State of Missouri to St.
Clair County, Illinois, for the purpose of engaging in illicit sexual conduct, as defined in Title 18,
United States Code, Section 2423(f), with a person under 18 years of age, all in violation of Title

18, United States Code, Section 2423(b).

A TRUE BILL

 

Angula Scott
ANGELA SCOTT
Assistant United States Attorney

STEVEN D. WEINHOEFT
United States Attorney

Recommended Bond: Detention
